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                         EXHIBIT P
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                                            April 03, 2025
Dr. Alan M. Garber
President
Harvard University
Office of the President
Massachusetts Hall
Cambridge, MA 02138

Penny Pritzker
Lead Member, Harvard Corporation
Harvard Corporation
Massachusetts Hall
Cambridge, MA 02138

Dear Dr. Garber:
Please consider this a formal communication with respect to the current situation on the campus of
Harvard University and a follow up to the March 31, 2025, letter from Commissioner Gruenbaum
informing you that the United States Government would be reviewing Harvard’s federal funding.
Harvard has asked for a dialogue with the Task Force to discuss this ongoing review. Below, you
will find several broad, non-exhaustive areas of reform that the government views as necessary for
Harvard to implement to remain a responsible recipient of federal taxpayer dollars. We look forward
to a meaningful dialogue focused on lasting, structural reforms at Harvard.
U.S. taxpayers invest enormously in U.S. colleges and universities, including Harvard University.
These funds are an investment and, like any investment, are based on the recipient’s performance,
not owed as a matter of custom or right. It is the responsibility of the federal government to ensure
that all recipients are responsible stewards of taxpayer funds. Harvard University, however, has
fundamentally failed to protect American students and faculty from antisemitic violence and
harassment in addition to other alleged violations of Title VI and Title VII of the Civil Rights Act of
1964. This letter outlines immediate next steps that we regard as necessary for Harvard University’s
continued financial relationship with the United States government.
   ●​ Oversight and accountability for biased programs that fuel antisemitism. Programs and
      departments that fuel antisemitic harassment must be reviewed and necessary changes made
      to address bias, improve viewpoint diversity, and end ideological capture.
   ●​ Disciplinary reform and consistent accountability. Harvard has an obligation to
      consistently and proactively enforce its existing disciplinary policies, ensuring that senior
      administrative leaders are responsible for final decisions. Reforms must include a
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      comprehensive mask ban (with medical and religious exemptions, given identification is
      always displayed) and a clarified time, place, and manner policy. Harvard must review and
      report on disciplinary actions for antisemitic rule violations since October 7, 2023.
   ●​ Student group accountability. Recognized and unrecognized student groups, and their
      leadership, must be held accountable for violations of Harvard policy.
   ●​ Governance and leadership reforms. Harvard must make meaningful governance reforms
      to improve its organizational structure to foster clear lines of authority and accountability,
      and to empower faculty and administrative leaders who are committed to implementing the
      changes indicated in this letter.
   ●​ Merit-based admissions reform. Harvard must adopt and implement merit-based
      admissions policies; cease all preferences based on race, color, or national origin in
      admissions throughout its undergraduate, graduate, and other programs; and demonstrate
      through structural and personnel action that these changes are durable.
   ●​ Merit-based hiring reform. Harvard must adopt and implement merit-based hiring
      policies; cease all preferences based on race, color, religion, sex, or national origin in hiring
      throughout its teaching and research faculty, staff, and leadership; and demonstrate through
      structural and personnel action that these changes are durable.
   ●​ Diversity, Equity, and Inclusion (DEI) programs. DEI programs teach students, faculty,
      staff, and leadership to make snap judgments about each other based on crude race and
      identity stereotypes, which fuels division and hatred based on race, color, national origin,
      and other protected identity characteristics. All efforts should be made to shutter such
      programs.
   ●​ Cooperation with law enforcement. Harvard must cooperate with law enforcement to
      ensure student safety.
   ●​ Transparency and reporting to ED, DHS, and other federal regulators. Harvard must
      comply fully with existing statutory reporting requirements under Section 117 of the Higher
      Education Act, commit to full cooperation with DHS and other federal regulators, and make
      organizational changes as necessary to enable full compliance.


We expect your immediate cooperation in implementing these critical reforms that will enable
Harvard to return to its original mission of providing a high-quality education in a safe environment
for all students through a focus on truth-seeking, innovative research, and academic excellence.
